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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                       September 25, 2020
                            UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROBERT HACK,                                      §
                                                  §
         Plaintiff,                               §
VS.                                               § CIVIL ACTION NO. 4:14-CV-03442
                                                  §
THEODORE M. WRIGHT, et al,                        §
                                                  §
         Defendants.                              §

             ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is Defendants’ Second Motion to Dismiss Plaintiff’s Amended Complaint

(Docs. 66, 67), referred to Magistrate Judge Dena Hanovice Palermo. On July 22, 2020, Judge

Palermo issued a report and Recommendation (“R & R”), recommending as follows: (1) that

Defendants’ motion be DENIED as to the breach of fiduciary duty claims, (2) that Defendants’

motion be GRANTED as to the insider trading claims, and (3) that Plaintiff be given a final

opportunity to amend but narrowly tailored to the extent necessary to add Canada LTEE as a

plaintiff and to further plead his breach of fiduciary duty claims with allegations regarding insider

trading. (Doc. 112.) Defendants filed their objections on August 5, 2020; Plaintiff filed his

response on August 19, 2020; and Defendants filed their reply in support of their objections on

August 26, 2020. (Docs. 115, 118, 120.)

       As required by 28 U.S.C. § 636(b)(1)(C), the Court has conducted a de novo review of the

portions of the R & R to which Defendants have objected. However, the Court agrees with the

conclusions, and the reasoning, of the R & R. Accordingly, the Court hereby ADOPTS the R & R

in full, except with respect to the opportunity to amend, as Plaintiff stated in briefing and on the

record that he does not intend to further amend the complaint other than with respect to adding
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Canada LTEE as a plaintiff. It is accordingly ordered that: (1) Defendants’ motion is DENIED as

to the breach of fiduciary duty claims, and (2) GRANTED as to the insider trading claims, which

are dismissed with prejudice. Additionally, (3) Plaintiff may amend the complaint only to the

extent necessary to add 95259 Canada LTEE as a plaintiff.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the 25th day of September, 2020.



                                           ____________________________________
                                           KEITH P. ELLISON
                                           UNITED STATES DISTRICT JUDGE
